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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
  UNITED STATES, et al.,                         )
                                                 )
                         Plaintiffs,             )
         v.                                      )      No. 1:23-cv-00108-LMB-JFA
                                                 )
  GOOGLE LLC,                                    )
                                                 )
                         Defendant.              )

                             MOTION FOR ADVERSE INFERENCE

         Plaintiffs respectfully move for an adverse inference, arising from Google’s intentional

  deletion of chat evidence, or, in the alternative, a different sanction that would “cure the

  prejudice” to Plaintiffs, Fed. R. Civ. P. 37(e)(1), and would “serve the prophylactic, punitive, and

  remedial rationales underlying the spoliation doctrine.” Silvestri v. Gen. Motors Corp., 271 F.3d

  583, 590 (4th Cir. 2001). The grounds for this motion are set forth in the accompanying

  memorandum of law. A proposed order is attached.
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  Dated: August 2, 2024

  Respectfully submitted,

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